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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PHILIP GODLEWSKI

Plaintiff,
Vv. Docket No.: 3:24-CV-00344-JKM
EDUARDO NICOLAS ALVEAR
GONZALEZ a/k/a ALVEAR GONZALEZ
EDUARDO NICOLAS; a/k/a NICOLAS
ALVEAR HONORABLE JULIA K. MUNLEY
and
GOOD LION FILMS, L.L.C.

and

GOOD LION TV, L.L.C.

Defendants.

ENTRY OF APPEARANCE

TO: CLERK OF COURT

Kindly enter the appearance of the below-signed Counsel on behalf of the above-
captioned Defendants.

Respectfully Submitted,

Dated: March 27, 2024. ROTHENBERG & CAMPBELL

BY: \ of &
; . Dave W. Rothenberg
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